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                                     12                          UNITED STATES DISTRICT COURT
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                                     13                                DISTRICT OF NEVADA

                                     14 IPFS CORPORATION, a Missouri
                                        Corporation,                                 Case No. 2:14-cv-00509-GMN-NJK
                                     15
                                                      Plaintiff,                     DEFENDANT’S CLOSING
                                     16                                              ARGUMENT
                                        vs.
                                     17
                                        LORRAINE CARRILLO, an individual,
                                     18
                                                      Defendant.
                                     19

                                     20 I.       INTRODUCTION

                                     21          IPFS’ damages case is premised on a litany of factual, evidentiary, and

                                     22 mathematical errors. The evidence which IPFS proffered at trial does not support

                                     23 an award of any damages—much less an award that makes IPFS better off than it

                                     24 would have been if the parties had fully performed the Agreement.          Judgment

                                     25 should be entered in favor of Carrillo.

                                     26          First, IPFS presented no evidence on the central question at trial – whether

                                     27 Carrillo caused IFPS damages. Instead, IPFS simply proved that Carrillo’s current
                                     28 employer, PAC, received business from seventeen insurance agencies after Carrillo


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                                      1   left IPFS.     The question, however, is whether IPFS would have retained the

                                      2   business they claim they lost had Carrillo not communicated with those agencies.

                                      3   IPFS presented no evidence on this issue, and therefore, failed to meet its burden of

                                      4   proof.

                                      5            Instead, IPFS relied on speculation for its claim that Carrillo’s actions caused

                                      6   it damage.      The evidence showed that the premium finance industry is highly

                                      7   competitive and volatile. As soon as Carrillo left IPFS, its relationships with the

                                      8   seventeen relevant agencies were vulnerable. Therefore, IPFS likely would have

                                      9   lost business from these agencies even if Carrillo had never contacted them after

                                     10 she left the company. Nevertheless, IPFS improperly assumed that every dollar of

                                     11 business which these agencies placed with Carrillo’s new employer, PAC, would
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                                     12 have been placed with IPFS but for Carrillo’s alleged breach of the Agreement. This
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                                     13 gap in logic undermines IPFS’ entire damages case.

                                     14            IPFS’ case is even more speculative with regard to future lost profits. IPFS

                                     15 calculated its future lost profits using discount rates and growth rates that it

                                     16 obtained from industry publications. These publications—which are the only source

                                     17 that IPFS has for the relevant figures—obviously constitute hearsay. The Court

                                     18 recognized as much when it ruled that IPFS cannot use the publications to prove

                                     19 the truth of the matter asserted—i.e., the correctness of the relevant discount rates

                                     20 and growth rates. But that is exactly what IPFS has done. IPFS literally copied

                                     21 and pasted these rates from the industry materials into its damage calculation.

                                     22 Without        the   industry   publications,   IPFS’   future   damage   computation    is

                                     23 unsupported by admissible evidence and constitutes sheer guesswork. Further, as a

                                     24 purely factual matter, none of the relevant agencies were contractually or otherwise

                                     25 obligated to continue doing business with IPFS after Carrillo left. IPFS assumes,

                                     26 with no factual support, that all seventeen agencies would have continued placing a

                                     27 similar level of business with IPFS for the next eight years—long after the
                                     28 expiration of the restrictive covenant in the Agreement.

                                                                                        2
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                                      1          IPFS also exaggerated the amount of its damages by failing to fully account

                                      2   for costs it avoided when Carrillo left the company.         Because IPFS no longer

                                      3   employs Carrillo, and because IPFS did not hire another salesperson to replace her,

                                      4   IPFS saved the full amount of her compensation.          Yet IPFS only subtracted a

                                      5   fraction of Carrillo’s compensation when calculating its lost profits. IPFS also failed

                                      6   to subtract the full “cost of funds” and “administrative costs” it would have incurred

                                      7   to service the relevant business. When these amounts are properly deducted, IPFS’

                                      8   claimed lost profits are a tiny fraction of the amount it claims.

                                      9          Finally, it was not until July 8, 2015 that the Court modified the Agreement

                                     10 in this case to render it enforceable. Prior to that date, the Court had ruled that the

                                     11 Agreement unenforceable as written. Doc. 37. Indeed, IPFS never tried to enforce
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                                     12 the Agreement as written at any point in this case. Until July 8, Carrillo did not
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                                     13 know whether the Court would modify the Agreement to make it enforceable, and

                                     14 did not know which particular modifications the Court might make. She could not

                                     15 conform her conduct to a modified version of the Agreement that did not yet exist.

                                     16 Therefore, it is fundamentally unfair to award damages against Carrillo which

                                     17 accrued before July 8. There was no enforceable contract between the parties until

                                     18 that date. IPFS therefore should be estopped from recovering damages based on

                                     19 pre-modification conduct.

                                     20          At bottom, IPFS’ damage calculation places it in a better position than it

                                     21 would have enjoyed had the parties performed under the contract, and punishes

                                     22 Carrillo for disobeying a contractual obligation that had yet to exist. The law and

                                     23 the facts do not support such a result.

                                     24 II.      SUMMARY OF IPFS’ DAMAGES CASE
                                     25          Before discussing the multiple problems with IPFS’ damages case, it is

                                     26 helpful to explain how IPFS calculated its damages. Instead of simply producing

                                     27 sales records for the 17 agencies in the years following Carrillo’s departure (which
                                     28 IPFS admitted were readily available to it), IPFS hired a certified public accountant

                                                                                     3
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                                      1   named Stephen W. Browne to estimate its damages, including certain future

                                      2   damages allegedly accruing after the Agreement expired.            IPFS began by

                                      3   calculating its profit margin for the 17 relevant agencies in 2013—the last full year

                                      4   when Carrillo worked for the company. Tr. Ex. 9A at 1-2. 1 IPFS stated that its

                                      5   total 2013 income from these agencies was $321,522, which consisted of $253,766 in

                                      6   interest income and $67,756 in late charges. Id. at 1. IPFS then subtracted the

                                      7   costs it incurred in 2013 to service the 17 agencies. Id. The largest of these costs

                                      8   was Carrillo’s compensation.    However, IPFS did not subtract the full $133,144

                                      9   amount that it paid for Carrillo’s salary, benefits, expenses, and payroll taxes. Id.

                                     10 at 6. Instead, it only subtracted $37,347.      Id. at 1. In addition, IPFS did not

                                     11 subtract the full $140 per-account administrative expenses which it incurred for the
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                                     12 17 agencies. Id. at 4. In 2013, there were a total of 900 accounts associated with
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                                     13 these agencies, meaning the total administrative fees attributable to the agencies

                                     14 were $126,000. Id. Nevertheless, IPFS utilized a $27 “incremental” per-account

                                     15 fee, resulting in administrative fees of only $24,300. Id. at 1 & 4. IPFS also failed

                                     16 to subtract the full cost of funds it incurred for the 17 agencies.        It used an

                                     17 “incremental” 0.559% cost-of-funds figure instead of its actual 1.450% cost-of-funds

                                     18 figure.     Id. at 1 & 10.   IPFS’ calculations ultimately yielded a profit margin of

                                     19 7.339% for the 17 agencies.

                                     20          IPFS then used this 7.339% profit margin to calculate the amount of its lost

                                     21 profits during the term of the Agreement, from January 2014 through July 2015.

                                     22 As part of this analysis, IPFS assumed that every dollar of business which the 17

                                     23 agencies placed with PAC during the term of the Agreement would have been

                                     24 placed with IPFS but for Carrillo’s alleged solicitation of the 17 agencies. IPFS then

                                     25

                                     26   The original version of IPFS’ computation, which included 19 agencies, is on file
                                          1
                                        with the Court as Document 102-7. Several days before trial, IPFS served Carrillo
                                     27 with an “updated” computation that removed two insurance agencies, resulting in
                                        the 17 total agencies that are currently in issue. The updated computation is Trial
                                     28 Exhibit 9A.

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                                      1   multiplied the receivables that PAC obtained from the 17 agencies during this

                                      2   period by the 7.339% profit margin, yielding lost profits of $202,716. Id. at 1.

                                      3          Finally, IPFS attempted to calculate the future damages it would allegedly

                                      4   incur between 2015 and 2023. It began by annualizing the receivables which PAC

                                      5   had received from the 17 agencies during the 9-month period ending July 23, 2015.

                                      6   Id. at 8. It then increased this annualized figure in each year from 2015 through

                                      7   2023. Id. at 1-2. The percentage increases for each year are based on growth rates

                                      8   which IPFS copied and pasted from an Industry Growth Outlook Report prepared

                                      9   by the company MicroBilt. Tr. Ex. 11. The MicroBilt report includes predicted

                                     10 growth rates for various sectors of the economy. To predict the future growth of the

                                     11 premium finance industry, IPFS averaged growth rates for the industries “All Other
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                                     12 Nondepository Credit Intermediation” and “Insurance Agencies and Brokerages.”
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                                     13 Tr. Ex. 9A at 1-2.

                                     14          After IPFS estimated the amount of receivables which PAC would earn from

                                     15 the agencies in each future year, IPFS applied its 7.339% profit margin from 2013,

                                     16 yielding IPFS’ lost profits for each year. Id. It then calculated the present value of

                                     17 these future lost profits using a specially created discount rate. Id. The discount

                                     18 rate includes five separate components. Id. at 9. IPFS copied and pasted three of

                                     19 these five components from a 2015 Valuation Handbook by the company Duff &

                                     20 Phelps. Tr. Ex. 13. The three components which IPFS copied from the Duff &

                                     21 Phelps handbook were an “equity risk premium” of 6.21%, a “size premium” of

                                     22 3.74%, and an “industry risk premium” of 1.06%. Tr. Ex. 9A at 9. After IPFS

                                     23 discounted its future damages to present value, they totaled $775,015. Of course,

                                     24 IPFS’ future damage calculation assumes that all of the business the 17 agencies

                                     25 have placed with PAC has been irreversibly lost. IPFS does not account for the

                                     26 possibility that it might win back a portion of this business during the 8-year future

                                     27 damage period.
                                     28

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                                      1          IPFS did not call Browne as a trial witness to testify about the damage

                                      2   computation he prepared. Nor did IPFS call any of the individuals who prepared

                                      3   the industry materials which Browne and IPFS relied upon. Instead, IPFS called

                                      4   its president, Michael Gallagher, as a lay witness. Gallagher parroted Browne’s

                                      5   analysis from the witness stand, all the while admitting that Browne actually

                                      6   prepared the damage computation. Tr. at 175:16-178:1.

                                      7   III.   ARGUMENT
                                      8          A.      IPFS failed to prove that a breach of the Agreement directly caused its
                                                         alleged damages.
                                      9

                                     10          As the plaintiff in this case, IPFS must demonstrate by a preponderance of

                                     11 the evidence that Carrillo’s breach of the Agreement caused damages to IPFS. See
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                                     12 Rodriguez v. Suzuki Motor Corp., 936 S.W.2d 104, 110 (Mo. 1996) (“Preponderance
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                                     13 is the minimum standard in civil disputes.”) (citation omitted); see also Mayer v.

                                     14 Gary Partners & Co., 29 F.3d 330, 333 (7th Cir. 1994) (in diversity actions, “state

                                     15 law determines whether the plaintiff must prove the case by a preponderance, by

                                     16 clear and convincing evidence, or by some other standard.”). Under Missouri law, a

                                     17 plaintiff may only recover lost profits “which are incidental to, and directly caused

                                     18 by, the breach, and may reasonably be supposed to have entered into the

                                     19 contemplation of the parties, and not speculative profits or accidental or

                                     20 consequential losses, or the loss of a fancied good bargain.”        Guidry v. Charter

                                     21 Communs., Inc., 269 S.W.3d 520, 533 (Mo. Ct. App. 2008) (quoting Weber

                                     22 Implement Co. v. Acme Harvesting Mach. Co., 268 Mo. 363, 371, 187 S.W. 874 (Mo.

                                     23 1916) (emphasis added)).        The amount of lost profits “should, in the event of

                                     24 uncertainty, at least be supported by the best evidence available.” Coach House of

                                     25 Ward Parkway, Inc. v. Ward Parkway Shops, Inc., 471 S.W.2d 464, 473 (Mo. 1971).

                                     26          IPFS did not establish by a preponderance of the evidence that its alleged

                                     27 damages were caused by Carrillo’s breach of the Agreement. IPFS simply assumed
                                     28 that, but for Carrillo’s solicitation of the 17 agencies, every dollar of business which

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                                      1   the 17 agencies placed with PAC during the term of the Agreement would have been

                                      2   placed with IPFS instead.       The evidence introduced at trial disproves IPFS’

                                      3   assumption.

                                      4          Carrillo testified she had no exclusive agreements with any insurance

                                      5   agencies. Tr. at 91-92:22-1. In fact, the agents with whom Carrillo worked typically

                                      6   utilized the services of 2-4 premium finance companies simultaneously. Tr. at 92:2-

                                      7   10 & 349:15-17. While at IPFS, Carrillo frequently quoted business for agencies

                                      8   that ultimately decided to place business with another premium finance company.

                                      9   Tr. at 92:11-25.      In those circumstances, Carrillo still maintained an ongoing

                                     10 relationship with the agent.       Tr. at 93:1-6.   Carrillo testified that every loan a

                                     11 premium finance company makes is different. Tr. at 91:19-21. Accordingly, the
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                                     12 amount of business Carrillo did with a particular agency varied from year to year.
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                                     13 Tr. at 93:8-18. There are multiple factors that influence IPFS’ volume with a given

                                     14 agency from year to year, including: (1) whether the customers of the insurance

                                     15 agency choose to pay their premiums in cash or finance the premiums; (2) whether

                                     16 the agency preserves (or loses) its customer relationships in a given year; (3)

                                     17 whether the customers of the agency go out of business or scale back their insurance

                                     18 purchases in a given year; (4) the pricing and down-payment terms offered by IPFS;

                                     19 and (5) other preferences of the agency’s customers. Tr. at 90:2-93:18.

                                     20          During questioning by IPFS, Carrillo testified that she was “successful” in

                                     21 selling business to the 17 agencies. However, she went on to explain that her job is

                                     22 not to “sell” but to provide a choice to the independent insurance agents. Tr. at

                                     23 86:10-87:4. The agent or the insured chooses the finance company that best fits the

                                     24 particular situation. Tr. at 88:10-89:4. Thus, while it is clear that PAC received

                                     25 loans from the 17 agencies, IPFS offered no evidence as to the reason(s) a particular

                                     26 agent chose PAC instead of IPFS or some other premium finance company for any

                                     27 particular loan.
                                     28

                                                                                     7
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                                      1          Further, IPFS President Michael Gallagher and PAC President Peter

                                      2   Kugelmann both testified there are a number of factors which influence an

                                      3   insurance agency’s choice of premium finance company other than the agency’s

                                      4   relationship with a particular salesperson. Tr. at 192:6-15 & 312:3-13. Gallagher

                                      5   admitted that IPFS’ level of business with the 17 agencies has fluctuated from year

                                      6   to year for a variety of reasons having nothing to do with Carrillo. Tr. at 187:14-20

                                      7   & 192:6-15. 2 Similarly, Rachel Yunk admitted the premium finance industry is

                                      8   highly competitive and that business frequently moves between competitors. Tr. at

                                      9   349:10-14.     Both Gallagher and Kugelmann testified that they cannot readily

                                     10 determine why an agency chooses one premium finance company over another in a

                                     11 given case. Tr. at 255:17-256:1 & 312:14-19.
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                                     12          Perhaps most significantly, the Court prevented Yunk from speculating about
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                                     13 whether the 17 agencies would have placed the relevant business with IPFS instead

                                     14 of PAC but for Carrillo’s solicitation.

                                     15                  MS GASPER:      In your opinion, if she hadn’t been
                                                         contacting and communicating with these folks, would
                                     16                  IPFS have been able to transition these relationships?
                                     17                  MR. KERKORIAN: Objection, calls for speculation.
                                     18                  THE COURT: Sustained.
                                     19 Tr. at 339:23-340:3.

                                     20          This captures the fatal flaw in IPFS’ damages case. There must be evidence

                                     21 – not mere speculation – to establish that IPFS would have retained all the

                                     22 business PAC did with the 17 agencies but for Carrillo’s actions. There is none.

                                     23

                                     24

                                     25
                                        2 The tables attached hereto as Exhibit A and B are derived from Trial Exhibits 2
                                     26 and 515, as well as Gallagher’s testimony. They establish the unpredictability of the
                                        revenue from year to year, even while Carrillo was employed by IPFS. It is
                                     27 reasonable to infer from this evidence that IPFS’ revenue for these 17 agencies
                                        would be even more unpredictable after Carrillo left IPFS and joined PAC.
                                     28

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                                      1   Without evidence, an award of damages is speculative and improper. The Court’s

                                      2   ruling on Carrillo’s objection acknowledges as much. 3

                                      3          IPFS’ assertion that the 17 agencies are “longtime clients” must be viewed

                                      4   with a healthy degree of skepticism. None of the 17 agencies were contractually or

                                      5   otherwise obligated to continue doing business with IPFS after Carrillo left. Tr. at

                                      6   91:22-92:1 To the extent the 17 agencies had a “longtime” relationship with anyone,

                                      7   it was with Carrillo, not IPFS. Carrillo had done business with 9 of the 17 agencies

                                      8   before she even joined IPFS’ predecessor in 1993. Tr. at 84:1-18. The agencies were

                                      9   connected to Carrillo as an individual, not to IPFS as a company. Therefore, any

                                     10 business which IPFS had with the 17 agencies became vulnerable as soon as

                                     11 Carrillo left the company, and IPFS had no reasonable expectancy of continued
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                                     12 revenue from the agencies. Regardless of whether Carrillo had later solicited the
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                                     13 agencies, it is reasonable to expect the agencies would have begun placing business

                                     14 with other premium financing companies, including PAC, during the 18-month term

                                     15 of the Agreement.       Tr. at 97:19-98:3 (Carrillo’s testimony that departure of

                                     16 salesperson often causes insurance agencies who had worked with salesperson to

                                     17 explore other companies); 314:10-13 (Kugelmann’s testimony that 17 agencies

                                     18 would have followed Carrillo regardless of whether she solicited them). Again, the

                                     19 evidence does not support IPFS’ assumption that every dollar of revenue which PAC

                                     20 earned from the 17 agencies during the term of the Agreement would have gone to

                                     21 IPFS but for Carrillo’s breach of the Agreement.

                                     22          Finally, 2 of the 17 agencies at issue had preexisting relationships with PAC

                                     23 before Carrillo left IPFS. Both Carrillo and Kugelmann testified that Karen Yu,

                                     24
                                        3 IPFS’ burden here is not unreasonably high.            The proof problems IPFS
                                     25 encountered might have been easy to overcome had IPFS presented the testimony of
                                        any customers. Counsel for IPFS remarked in his opening statement that it did not
                                     26 subpoena any customers to testify about the reasons business was moved to PAC
                                        because PAC “conceded that PAC earned business from IPFS customers as a result
                                     27 of Ms. Carrillo’s efforts.” Tr. at 7:11-19. However, as the above reflects, PAC made
                                        no such concession. The testimony of all the witnesses was in agreement that no
                                     28 one knows why business left IPFS and went to PAC.

                                                                                    9
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                                      1    another PAC salesperson, solicited L/P Insurance and George Brown Insurance for

                                      2    business before Carrillo arrived.     Tr. at 100:24-101:22 & 269:16-270:7.      Both

                                      3    agencies had been entered in PAC’s computer system, and L/P Insurance had

                                      4    already placed loans with PAC beginning in 2010. Tr. at 270:3-4. IPFS failed to

                                      5    establish that these two agencies placed business with PAC because of solicitation

                                      6    by Carrillo, and not because of their established relationship with PAC.

                                      7           B.      IPFS failed to prove future damages by admissible evidence.
                                      8           Even if IPFS could prove that it sustained damages from Carrillo’s breach of

                                      9    the Agreement, it would still not be entitled to recover future damages for the years

                                     10 2015 through 2023. First, IPFS did not offer any evidence of its actual 2014 or 2015

                                     11 sales for the 17 agencies at issue, even though this information is readily available
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                                     12 to it. If IPFS actually lost any business from the 17 agencies, we would be able to
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                                     13 see it in their sales figures for the years following Carrillo’s departure.       IPFS’

                                     14 failure to provide that information indicates that nothing was actually “lost.” The

                                     15 failure to offer its 2014 and 2015 sales data also demonstrates IPFS did not use the

                                     16 “best evidence available.”        Coach House, 471 S.W.2d at 473.        Instead, IPFS

                                     17 presented a convoluted damages computation that relies on PAC’s sales, as well as

                                     18 hypotheticals, assumptions and expert analysis.         Moreover, as explained below,

                                     19 IPFS impermissibly used hearsay materials to calculate its future damages. IPFS’

                                     20 future damages claim, which depends on these hearsay materials, necessarily fails.

                                     21 And from a purely factual standpoint, IPFS’ claim for future damages is even more

                                     22 speculative than its claim for present damages. Therefore, the Court should not

                                     23 award IPFS any such damages.

                                     24                   1.     IPFS’ damages were calculated using copied-and-pasted figures
                                                                 from industry publications, which constitute hearsay.
                                     25

                                     26           When the Court denied Carrillo’s motion in limine [Dkt. No. 110], it held that

                                     27 Michael Gallagher—IPFS’ primary witness—could offer lay opinion testimony on
                                     28 IPFS’ future damages.         Therefore, under the Court’s ruling, Mr. Gallagher was

                                                                                     10
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                                      1    required to base his damages testimony on his own personal knowledge and his own

                                      2    personal opinion. See Fed. R. Evid. 701(a) (lay witness’ opinion must be “rationally

                                      3    based on the witness’s perception”). He was not allowed to rely on inadmissible

                                      4    materials—such as hearsay—to form his lay opinion on IPFS’ damages. Cf. Fed. R.

                                      5    Evid. 703 (expert witnesses, but not lay witnesses, may rely on inadmissible facts or

                                      6    data when forming an opinion).

                                      7           The Rules of Evidence define hearsay as a statement that “the declarant does

                                      8    not make while testifying at the current trial or hearing” and that “a party offers in

                                      9    evidence to prove the truth of the matter asserted in the statement.” Fed. R. Evid.

                                     10 801(c)(1)-(2). As noted above, IPFS’ future damage calculation incorporates various

                                     11 data from industry publications. The future growth rates which IPFS used in its
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                                     12 calculation are copied from the MicroBilt Industry Growth Outlook Report. Tr. Ex.
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                                     13 11. Relatedly, the discount rate IPFS used in its calculation was specially created

                                     14 for this case using five interest rate components. Three of the five interest rates

                                     15 were copied from the Duff & Phelps 2015 Valuation Handbook. Tr. Ex. 13.

                                     16           Both of these publications constitute hearsay.         They are out-of-court

                                     17 statements, made by their respective authors, which IPFS used to prove the truth of

                                     18 the matters asserted. The Industry Growth Outlook Report predicts future growth

                                     19 rates in various industries. IPFS copied and pasted these rates into its damage

                                     20 computation to calculate its future damages.         In other words, IPFS necessarily

                                     21 relied on the data from the Industry Growth Outlook Report as being truthful and

                                     22 accurate.       Similarly, the 2015 Valuation Handbook provides discount rates for

                                     23 certain types of corporate revenue. IPFS copied and pasted these rates into its

                                     24 damage computation to calculate the present value of its future damages. Thus,

                                     25 IPFS also relied on the 2015 Valuation Handbook as being truthful and accurate.

                                     26           At trial, IPFS sought to introduce both of these documents as exhibits. See

                                     27 Tr. Ex. 11 & 13.         Carrillo objected to the Industry Growth Outlook Report on

                                     28 foundation and hearsay grounds. Tr. at 151:18-152:5. The Court responded:

                                                                                    11
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                                      1                   Inasmuch as he’s offering it or it’s being offered just to
                                                          inform me, the reader of Plaintiff’s Trial Exhibit 9A,
                                      2                   where these numbers are coming from, I’ll accept it just
                                                          for that purpose, but certainly not for the truth of the
                                      3                   information that’s in Exhibit 11 and whether or not those
                                                          forecasts are accurate or not or based on credible
                                      4                   information and so forth, but just to inform me of where
                                                          he’s coming up with this projected growth.
                                      5
                                                          But I’m only going to accept it for that purpose. Just for --
                                      6                   admitted for a limited purpose.

                                      7                   So I suppose your objection is granted in part.

                                      8    Tr. at 152:6-16.

                                      9           Carrillo also objected to the 2015 Valuation Handbook on foundation and

                                     10 hearsay grounds. Tr. at 375:25-376:1. The Court responded:

                                     11                   Well, I understand the objection. And clearly I’m not
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                                                          going to accept these numbers without any further
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                                     12                   information about this particular publishing group or the
                                                          -- you know, I don’t know the -- don’t really know enough
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                                     13                   about whether this is a periodical type that I could admit
                                                          on that basis. He wasn’t really testifying as an expert, so
                                     14                   I’m not sure it applies in that way either.
                                     15                   But as -- inasmuch as it informs me as to what it is that
                                                          he is referring to, where he got his numbers from, what it
                                     16                   -- what it is that he says he looks at on a regular basis to
                                                          come up with those values that he used for that limited
                                     17                   purpose, I’ll refer to these two pages and admit them on
                                                          that basis.
                                     18                   (Exhibit 13 received into evidence.)
                                     19                   MR. KERKORIAN: But, Your Honor, to be clear, not for
                                                          the truth of the matter asserted?
                                     20
                                                          THE COURT: Right. Not for the truth of the matter
                                     21                   asserted.
                                     22 Tr. at 376:24-377:17.

                                     23           Because the Court specifically ruled that IPFS’ industry publications were

                                     24 not admissible to prove the truth of the matters asserted, IPFS cannot use these

                                     25 publications to prove the correctness of the future growth rates or the correctness of

                                     26 the discount rates. In reality, however, that is the sole purpose for which IPFS used

                                     27 the documents. These documents are the sole authority for the future growth rates
                                     28 and three components of the discount rate in IPFS’ damage computation. These

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                                      1    rates are not based on any independent analysis by Michael Gallagher—or, for that

                                      2    matter, any independent analysis by Stephen Browne.         Neither Gallagher nor

                                      3    Browne used any other information to derive the growth rates and the three

                                      4    components of the discount rate. Instead, IPFS simply copied and pasted the rates

                                      5    from the industry materials into its damage computation. Under hornbook evidence

                                      6    principles, copying and pasting information from an out-of-court statement and

                                      7    relying on the information as correct is an impermissible hearsay use.

                                      8           IPFS may argue that Gallagher can rely on the hearsay publications because

                                      9    Gallagher and other individuals in the premium finance industry typically rely on

                                     10 such information when calculating future profits. But that is not the governing

                                     11 standard for lay opinion testimony.        If Gallagher were testifying as an expert
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                                     12 witness, he would arguably be allowed to base his opinion on inadmissible hearsay,
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                                     13 including the publications. See Fed. R. Evid. 703 (“An expert may base an opinion

                                     14 on facts or data in the case that the expert has been made aware of or personally

                                     15 observed. If experts in the particular field would reasonably rely on those kinds of

                                     16 facts or data in forming an opinion on the subject, they need not be admissible for

                                     17 the opinion to be admitted.”).       However, the Court has specifically held that

                                     18 Gallagher is testifying as a lay witness.         Unlike experts, lay witnesses like

                                     19 Gallagher cannot adopt the opinions of third parties as their own. Gallagher was

                                     20 only allowed to offer opinions which he himself developed—not opinions which the

                                     21 authors of the industry publications developed. See Fed. R. Evid. 701(a).

                                     22           IPFS also may argue that there is no hearsay issue because the subject of

                                     23 Gallagher’s testimony is lost profits. The Court previously ruled that Gallagher

                                     24 may offer lay testimony about IPFS’ lost profits based on his knowledge of IPFS and

                                     25 his experience with the company. But this merely begs the question of whether

                                     26 Gallagher’s testimony is, indeed, based on his knowledge of and experience with

                                     27 IPFS. In other words, the question of whether Gallagher’s testimony constitutes
                                     28 inadmissible expert testimony is a separate issue from whether his testimony

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                                      1    constitutes inadmissible hearsay. A lay opinion on lost profits, like a lay opinion on

                                      2    any other matter, is subject to the hearsay rule. When Gallagher adopts someone

                                      3    else’s opinion as his own—for example, when he adopts the opinions expressed by

                                      4    the authors of the industry publications—he goes beyond the permissible scope of

                                      5    lay opinion testimony.      Such testimony is not based on his knowledge of or

                                      6    experience with IPFS; rather, it is based on another person’s work product and

                                      7    another person’s opinion.

                                      8           For these reasons, IPFS cannot use the Industry Growth Outlook Report or

                                      9    the 2015 Valuation Handbook to prove the amount of its future damages. Without

                                     10 these two publications, IPFS cannot support its future growth rates or its discount

                                     11 rate.       Therefore, there is no evidentiary basis for IPFS’ future damages
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                                     12 computation, and IPFS’ future damages case necessarily fails.
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                                     13                   2.     The evidence clearly demonstrated that IPFS’ future damages
                                                                 are remote and speculative.
                                     14

                                     15           Even if IPFS’ evidence of future damages were admissible, IPFS still did not

                                     16 prove these damages by a preponderance of the evidence. Under Missouri law,

                                     17 “[p]roof of lost profits is exacting.” Anuhco, Inc. v. Westinghouse Credit Corp., 883

                                     18 S.W.2d 910, 923 (Mo. Ct. App. 1994). “Speculation as to probable or expected lost

                                     19 business profits is spurned, and proof of lost profits must be substantial.”          Id.

                                     20 “Recovery for lost profits is not permitted when uncertainty and speculation exist as

                                     21 to whether lost profits would have occurred or whether lost profits emanated from

                                     22 the wrong.” Id. at 923 (citing S. Mo. Bank v. Fogle, 738 S.W.2d 153, 158 (Mo. Ct.

                                     23 App. 1987)).

                                     24           As explained above, it is pure speculation for IPFS to assume that every

                                     25 dollar of business which the 17 agencies placed with PAC during the term of the

                                     26 Agreement would have been placed with IPFS but for Carrillo’s breach of the

                                     27 Agreement. However, it is an even greater leap of faith for IPFS to assume the 17
                                     28 agencies would have continued sending a similar volume of business to IPFS for 8

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                                      1    years—a period five times longer than the actual term of the Agreement. As noted

                                      2    above, there are no contracts between IPFS and the 17 insurance agencies: the

                                      3    agencies would have been free to use any premium finance company at any point

                                      4    during the 8-year future damages period. Indeed, Michael Gallagher admitted that

                                      5    IPFS’ business with these agencies fluctuates from year to year for reasons having

                                      6    nothing to do with the salesperson assigned to each agency. Tr. at 192:6-15 And

                                      7    because the 17 agencies identified with Carrillo, rather than IPFS, it is reasonable

                                      8    to presume they would have explored other premium financing companies even if

                                      9    Carrillo had never solicited them.

                                     10           Subsequent events have already proven IPFS’ assumptions about future

                                     11 damages wrong.           Rachel Yunk admitted that 6 of the 17 agencies—1Source
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                                     12 Insurance Group, Michael Ashe Insurance Agency, L/P Insurance Services,
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                                     13 McCready Insurance Services, Amnet, and Cutler—still use IPFS for premium

                                     14 financing. Tr. at 346:22-349:9. Since IPFS has an ongoing relationship with each of

                                     15 these 6 agencies, it will presumably win back a portion of the business it allegedly

                                     16 lost to PAC (assuming it tries to). However, IPFS’ static future damage analysis

                                     17 does not allow for the possibility that it will win back business from any of the 17

                                     18 agencies.

                                     19           Further, another 3 of the 17 agencies have stopped placing business with

                                     20 PAC since this lawsuit was filed. Carrillo’s uncontroverted testimony established

                                     21 that George Brown Insurance, Omni Insurance Brokerage, and Demart Insurance

                                     22 Solutions have all stopped using PAC and are now using other premium finance

                                     23 companies. Tr. at 63:13-64:5 (Omni); 69:22-70:4 (Demart); 77:9-22 (George Brown).

                                     24 Because these 3 agencies stopped sending business to PAC less than 2 years after

                                     25 Carrillo joined the company, there is no basis for IPFS to assume they would have

                                     26 sent business to IPFS for a full 8 years.

                                     27
                                     28

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                                      1           C.      IPFS inflated its damages by failing to subtract the full amount of
                                                          expenses it avoided when Carrillo left the company.
                                      2

                                      3           As detailed above, IPFS is not entitled to any damages. However, even if

                                      4    IPFS were entitled to recover present and/or future damages, it would have to

                                      5    account for all the costs it saved as a result of Carrillo’s alleged breach of the

                                      6    Agreement. Under Missouri law, “[t]he goal in awarding damages is to put the non-

                                      7    breaching party in the same position as if the contract would have been performed.”

                                      8    Guidry v. Charter Communications, Inc., 269 S.W.3d 520, 532 (Mo. Ct. App. 2008).

                                      9    “The non-breaching party cannot be put in a better position than it would have

                                     10 enjoyed had both parties performed under the contract.” Fire Sprinklers, Inc. v.

                                     11 Icon Contr., Inc., 279 S.W.3d 230, 235 (Mo. Ct. App. 2009). Therefore, a plaintiff
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                                     12 suing for lost profits may only recover its net lost profits. See Coonis v. Rogers, 429
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                                     13 S.W.2d 709, 714 (Mo. 1968). IPFS’ damage computation severely understates the

                                     14 amount of expenses it avoided due to the breach of the Agreement. As a result, the

                                     15 computation inflates the amount of IPFS’ damages and places IPFS in a better

                                     16 position that it would have enjoyed if the parties had fully performed under the

                                     17 Agreement.

                                     18           First, IPFS failed to subtract the full amount of Carrillo’s compensation, or

                                     19 “sales expense,” when calculating its 2013 profit margin for the 17 agencies. IPFS’

                                     20 computation shows that it paid a total of $133,144 in salary, benefits, reimbursable

                                     21 expenses, and payroll taxes for Carrillo in 2013. Tr. Ex. 9A at 6. Since Carrillo no

                                     22 longer works for IPFS, the company no longer pays these expenses. And since IPFS

                                     23 has not hired a new salesperson to replace Carrillo, Tr. at 245:8-10, it has not

                                     24 reallocated the $133,144 to any other employee. Therefore, IPFS has saved the full

                                     25 amount of $133,144 as a result of Carrillo’s departure.          However, IPFS only

                                     26 subtracted $37,347 of this amount when calculating its 2013 profit margin. Tr. Ex.

                                     27 9A at 1. IPFS claims the 17 agencies accounted for approximately 28% of Carrillo’s
                                     28 book of business when she worked at IPFS. Tr. at 145:1-146:24. IPFS argues that

                                                                                    16
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                                      1    only 28% should be subtracted when calculating IPFS’ profit margin. IPFS’ opinion

                                      2    as to whether a particular expense is attributable to the 17 specific agencies is

                                      3    irrelevant under Missouri law. It is a simple matter of fact that IPFS did not hire a

                                      4    replacement for Carrillo, and therefore avoided all of the expenses associated with

                                      5    her employment. It must subtract the full amount of that expense.

                                      6           Further, to truly account for Carrillo’s compensation, IPFS must subtract the

                                      7    full amount Carrillo would have earned during the term of the Agreement (January

                                      8    2014 through July 2015) had she remained with IPFS. IPFS predicts the amount of

                                      9    compensation Carrillo would have earned during this 18-month period by

                                     10 multiplying the percentage of 1.173% by the amount of receivables PAC received

                                     11 from the 17 agencies during the 18-month period ($2,762,170). IPFS derived the
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                                     12 1.173% figure by dividing Carrillo’s compensation in 2013 by the amount of
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                                     13 receivables IPFS received from the 17 agencies in 2013.               In other words, IPFS

                                     14 assumes that Carrillo’s compensation during the 18-month period from January

                                     15 2014 through July 2015 would have constituted the same percentage of “average

                                     16 receivable” that it constituted in 2013.             This is factually incorrect.   Carrillo’s

                                     17 compensation did not depend on the amount of receivables that IPFS received from

                                     18 the 17 agencies. If Carrillo had continued working for IPFS for the 18-month period

                                     19 from January 2014 through July 2015, she presumably would have been paid 150%

                                     20 of the compensation she earned during the 12 months of 2013. Therefore, IPFS

                                     21 should have calculated its profit margin by subtracting 150% of Carrillo’s total 2013

                                     22 compensation, or $199,716.

                                     23           Second, IPFS failed to subtract the full amount of administrative costs it

                                     24 avoided when the 17 agencies placed business with PAC instead of IPFS. IPFS

                                     25 incurs an average of $140 in administrative costs for each loan it provides to a

                                     26 customer of an insurance agency. Tr. Ex. 9A at 4. In 2013—the year for which

                                     27 IPFS calculated its profit margin—IPFS serviced a total of 900 loans for the 17
                                     28 agencies.       Id.      Therefore, IPFS’ total administrative cost associated with these

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                                      1    agencies was $126,000.       But instead of subtracting the full amount, IPFS only

                                      2    subtracted $26 per loan, resulting in total administrative costs of only $24,300. Id.

                                      3    at 1. Again, this has the effect of exaggerating IPFS’ profit margin.

                                      4           Third, IPFS also failed to subtract the full “cost of funds” it avoided when the

                                      5    17 agencies placed business with PAC instead of IPFS. “Cost of funds” refers to the

                                      6    expense IPFS incurs to obtain money to fund loans. On average, IPFS’ cost of funds

                                      7    for the 17 relevant agencies is 1.450%. Tr. at 213:14-19 (testimony of Gallagher);

                                      8    Tr. Ex. 9A at 10. However, IPFS’ damage computation uses a smaller figure of

                                      9    0.559%. Tr. Ex. 9A at 1. This does not represent the actual expense IPFS would

                                     10 have incurred to source funds for the agencies’ business. IPFS’ actual cost of funds

                                     11 is 1.450%, and that is the amount IPFS must subtract to properly calculate its
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                                     12 profit margin.
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                                     13           When these errors are corrected, IPFS’ profits are significantly lower:

                                     14           x       If the Court calculates IPFS’ profits using the figures in Trial Exhibit

                                     15                   9A, but subtracts the full $199,716 in compensation that Carrillo

                                     16                   would have earned from IPFS in January 2014-July 2015, IPFS’ lost

                                     17                   profits through July 2015 are only $35,393.         This yields future

                                     18                   damages of $135,313 through 2023 at IPFS’ assumed growth rates, far

                                     19                   less than the nearly $800,000 claimed by IPFS in Trial Exhibit 9A.

                                     20                   The modified calculation is reproduced at Exhibit C attached hereto.

                                     21           x       The numbers would be reduced even further, and actually turn

                                     22                   negative, if IPFS’ actual costs for costs of funds and administrative

                                     23                   costs are used. 4

                                     24 Based on the foregoing, it is obvious that the damages computation proffered by

                                     25 IPFS grossly exaggerates its claimed damages.

                                     26   IPFS’ actual cost of funds of 1.45% would reduce the lost profits calculation by
                                           4
                                        approximately $24,000 [1.45% X $2,762,170 = $40,051) minus $15,441]. IPFS’
                                     27 actual administrative costs of $140 per account would reduce the lost profits by
                                        another $105,000, approximately [$140/account X 900 accounts = $126,000) minus
                                     28 $21,076].

                                                                                      18
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                                      1           D.      IPFS failed to take reasonable efforts to mitigate its damages, choosing
                                                          to rely on litigation instead.
                                      2

                                      3            “[O]ne damaged through alleged breach by another of some legal duty or

                                      4    obligation [has to] make reasonable efforts to minimize the resulting damage.”

                                      5    Cunningham v. Cunningham, 805 S.W.2d 363, 365 (Mo. App. 1991). After Carrillo

                                      6    left the company, IPFS should have taken at least three commonsense steps to

                                      7    mitigate its damages. First, IPFS should have hired a full-time replacement for

                                      8    Carrillo in Southern Nevada. Instead, IPFS reassigned Carrillo’s book of business

                                      9    to a part-time salesperson named Rusty Smeds who lives in Southern California

                                     10 and only works in Las Vegas for one week out of each month. Tr. at 246:14-16 &

                                     11 372:2-4. This obviously hampered IPFS’ ability to preserve business with the 17
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                                     12 agencies, which are all located in Nevada.           Tr. at 275:25-276:10 (Kugelmann’s
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                                     13 testimony regarding importance of local sales force).          Second, IPFS could have

                                     14 required Carrillo to continue working for IPFS for an additional two weeks after she

                                     15 gave notice she was leaving. This would have given IPFS additional time to solidify

                                     16 its relationships with the 17 agencies and transition the agencies to new

                                     17 salespeople. But even though Carrillo provided two weeks’ notice, IPFS declined to

                                     18 have her work this additional time.           Tr. at 103:17-24 (Carrillo).    Third, and

                                     19 relatedly, IPFS should have visited each of 17 of the agencies as soon as possible

                                     20 after Carrillo announced her resignation.          However, Rachel Yunk—the witness

                                     21 whom IPFS called on the issue of mitigation—testified that she only visited 4 of the

                                     22 agencies. Tr. at 361:1-4. Since Carrillo has established the defense of failure to

                                     23 mitigate, IPFS is not entitled to recover any damages.

                                     24           E.      IPFS cannot recover damages which accrued before the Court modified
                                                          the Agreement.
                                     25

                                     26           IPFS cannot recover any damages it allegedly incurred before July 8, 2015,

                                     27 the date the Court modified the Agreement to make it enforceable under Missouri
                                     28 law. To establish a breach of contract, the party claiming breach must show: (1) the

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                                      1    existence of an enforceable contract; (2) the presence of mutual obligations under

                                      2    the contract; (3) the failure to perform an obligation specified in the contract; and

                                      3    (4) damages. Sch. Dist. of Kan. City v. Bd. of Fund Comm’rs, 384 S.W.3d 238, 259

                                      4    (Mo. Ct. App. 2012).        In this case, the Agreement was clearly unenforceable as

                                      5    written. Therefore, as written, the Agreement did not satisfy the first element of

                                      6    breach of contract and did not support an award of damages.           There was no

                                      7    enforceable contract between the parties until July 8, 2015, when the Court

                                      8    modified the Agreement to make it enforceable under Missouri law. Therefore, as a

                                      9    matter of simple contract law, IPFS cannot recover damages which accrued before

                                     10 July 8, 2015.            Because IPFS seeks damages for the period from January 2014

                                     11 through July 2015, almost all of its claimed damages are not recoverable.
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                                     12           Further, the modified version of the Agreement does not “relate back” to the
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                                     13 beginning of the non-compete period in January 2014 or to the signing of the

                                     14 Agreement in 1993. This argument would be plausible if, for example, the Court

                                     15 had removed a portion of the restrictive covenant, leaving the remainder of the

                                     16 covenant to be enforced against Carrillo retroactively.          But that is not what

                                     17 happened here; instead, the Court completely removed and rewrote the covenant.

                                     18 As originally written, Section 3 of the Agreement was a non-competition covenant

                                     19 that “effectively prevent[ed] Defendant from working for any premium financing

                                     20 company anywhere in the world to whom Plaintiff has sent as much as a letter.”

                                     21 Doc. 85 at 6. The Court responded by removing Section 3 and replacing it with a

                                     22 completely different provision that prohibited Carrillo from soliciting various clients

                                     23 of IPFS, rather than working for competitors of IPFS. Since this new covenant was

                                     24 not included in the original Agreement in any form, it cannot govern conduct that

                                     25 occurred before the Court added it to the Agreement on July 8, 2015. Carrillo could

                                     26 not conform her conduct to a modified version of the Agreement that did not yet

                                     27 exist. Therefore, the Court should not award damages that allegedly accrued before
                                     28 July 8, 2015.

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                                      1    IV.    CONCLUSION

                                      2           Under Missouri contract law, the Federal Rules of Evidence, and the

                                      3    limitations of arithmetic, IPFS cannot recover the amount of damages it is seeking

                                      4    from Carrillo.        Missouri law prohibits the Court from placing IPFS in a better

                                      5    position that it would have enjoyed if Carrillo had complied with the Agreement.

                                      6    However, that is precisely what IPFS now seeks by asking the Court for damages

                                      7    well in excess of its actual lost profits. Perhaps worst of all, IPFS seeks to hold

                                      8    Carrillo liable for breaching a modified version of the Agreement that did not even

                                      9    exist until July 2015—shortly before the Agreement expired. The Court should end

                                     10 IPFS’ quixotic bid to recover a million-dollar judgment from a mid-level salesperson,

                                     11 and should hold that IPFS failed to meet its burden of proving damages.
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                                     12           Dated: March 30, 2016.
        Ballard Spahr LLP




                                     13                                                 BALLARD SPAHR LLP

                                     14                                                 By: /s/ Matthew D. Lamb
                                                                                            Matthew D. Lamb
                                     15                                                     Nevada Bar No. 12991
                                                                                            100 North City Parkway, Suite 1750
                                     16                                                     Las Vegas, Nevada 89106

                                     17                                                     Attorneys for Defendant

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                                     1                                CERTIFICATE OF SERVICE

                                     2            I certify that on March 30, 2016 a true and correct copy of Defendant’s

                                     3     Closing Argument was filed via the Court’s CM/ECF System and electronically

                                     4     served by the Court on all parties who have appeared in the action.

                                     5                                               /s/ Sarah Walton
                                                                                     An Employee of Ballard Spahr LLP
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